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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of New York
                                          (State)
                                                                                                                                       ☐ Check if this is an
Case number (if known):                                         Chapter       11                                                           amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      04/16
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
      number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s Name                               Nine West Holdings, Inc.


                                                 Jones Apparel Group USA, Inc.; Jones Apparel Group Holdings, Inc.; JAG Footwear, Accessories
2. All other names debtor used                   and Retail Corporation; Jones Investment Co. Inc.
   in the last 8 years


     Include any assumed names,
     trade names, and doing business
     as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                     Mailing address, if different from principal place
                                                                                                          of business
                                          1411 Broadway
                                          Number              Street                                      Number         Street


                                                                                                          P.O. Box
                                          New York, New York 10018
                                          City                               State      Zip Code          City                         State     Zip Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                          New York County
                                          County                                                          Number         Street




                                                                                                          City                         State     Zip Code




5. Debtor’s website (URL)                 www.ninewest.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




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Debtor            Nine West Holdings, Inc.                                            Case number (if known)
           Name



                                               A. Check One:
7.   Describe debtor’s business
                                               ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                               ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                               ☒ None of the above

                                               B. Check all that apply:

                                               ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                  § 80a-3)

                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               4243 (Apparel, Piece Goods, and Notions Merchant Wholesalers)

8. Under which chapter of the                  Check One:
   Bankruptcy Code is the
   debtor filing?                              ☐ Chapter 7

                                               ☐ Chapter 9

                                               ☒ Chapter 11. Check all that apply:

                                                                 ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                   4/01/19 and every 3 years after that).

                                                                 ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                   of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                 ☐ A plan is being filed with this petition.

                                                                 ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                 ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                   Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                 ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.

                                               ☐ Chapter 12
9. Were prior bankruptcy cases            ☒ No
   filed by or against the debtor         ☐ Yes.      District                           When                      Case number
   within the last 8 years?                                                                       MM/DD/YYYY
     If more than 2 cases, attach a                   District                           When                      Case number
     separate list.                                                                               MM/DD/YYYY

10. Are any bankruptcy cases              ☐ No
    pending or being filed by a                                                                                    Relationship     Affiliate
                                          ☒ Yes.      Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                          District    Southern District of New York
     List all cases. If more than 1,                                                                               When             04/06/2018
     attach a separate list.                         Case number, if known _______________________                                  MM / DD / YYYY

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Debtor           Nine West Holdings, Inc.                                          Case number (if known)
          Name



11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                       ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                   ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                 ☐     Other


                                                 Where is the property?
                                                                                      Number          Street



                                                                                      City                                  State       Zip Code



                                                 Is the property insured?

                                                 ☐ No

                                                 ☐ Yes.     Insurance agency
                                                            Contact name
                                                            Phone




                      Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                       ☐     1,000-5,000                        ☒    25,001-50,000
    creditors                         ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
                                      ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                      ☐     200-999



15. Estimated assets                  ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☒   $500,000,001-$1 billion
                                      ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                      ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                      ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion




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Debtor           Nine West Holdings, Inc.                                            Case number (if known)
          Name



16. Estimated liabilities            ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                     ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on            04/06/2018
                                                              MM/ DD / YYYY


                                              /s/ Ralph Schipani                                                 Ralph Schipani
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Authorized Signatory




18. Signature of attorney                     /s/ James A. Stempel                                           Date        04/06/2018
                                              Signature of attorney for debtor                                           MM/ DD/YYYY



                                              James A. Stempel
                                              Printed name
                                              Kirkland & Ellis LLP
                                              Firm name
                                              300 North LaSalle
                                              Number                     Street
                                              Chicago                                                                Illinois          60654
                                              City                                                                   State               ZIP Code
                                              (312) 862-2000                                                         jstempel@kirkland.com
                                              Contact phone                                                               Email address
                                              6201977                                             Illinois
                                              Bar number                                           State




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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of New York
                                        (State)
                                                                                                      ☐ Check if this is an
Case number (if known):                                   Chapter    11                                   amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title 11 of the United
States Code. The Debtors have moved for joint administration of these cases under the case number assigned to
the chapter 11 case of Nine West Holdings, Inc.

     Nine West Holdings, Inc.
     Jasper Parent LLC
     Kasper Group LLC
     Kasper U.S. Blocker LLC
     Nine West Apparel Holdings LLC
     Nine West Development LLC
     Nine West Distribution LLC
     Nine West Jeanswear Holding LLC
     Nine West Management Service LLC
     One Jeanswear Group Inc.
     US KIC Top Hat LLC
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                   )
 In re:                                            )     Chapter 11
                                                   )
 NINE WEST HOLDINGS, INC.,                         )     Case No. 18-___________(___)
                                                   )
                        Debtor.                    )
                                                   )

                                  LIST OF EQUITY SECURITY HOLDERS1

          Debtor               Equity Holders            Address of Equity Holder       Percentage of
                                                                                         Equity Held
 Nine West Holdings,                                   1412 Broadway
                           Jasper Parent LLC                                               100%
 Inc.                                                  New York, NY 10018




 1   This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the
     Federal Rules of Bankruptcy Procedure. All equity positions listed are as of the date of
     commencement of the chapter 11 case.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                   )
 In re:                                            )     Chapter 11
                                                   )
 NINE WEST HOLDINGS, INC.,                         )     Case No. 18-___________(___)
                                                   )
                         Debtor.                   )
                                                   )

                                   CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
 following are corporations, other than a government unit, that directly or indirectly own 10% or more of
 any class of the debtor’s equity interest:

                     Shareholder                           Approximate Percentage of Shares Held

     Jasper Parent LLC                                                         100%
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     Fill in this information to identify the case:

     Debtor name         Nine West Holdings, Inc., et al.

     United States Bankruptcy Court for the:      Southern District of New York                                                          